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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

                         v.
                                         Crim. No. 17-232 (EGS)
MICHAEL T. FLYNN,

                          Defendant


                              NOTICE OF APPEARANCE

      The United States of America by and through its attorney, the United States

Attorney for the District of Columbia, informs the Court and counsel that Hashim M.

Mooppan, Counselor to the Solicitor General, is entering his appearance in this

matter on behalf of the United States.

                                         Respectfully submitted,

                                         MICHAEL R. SHERWIN
                                         ACTING UNITED STATES ATTORNEY
                                         N.Y. Bar No. 4444188

                                         By: /s/ Hashim M. Mooppan

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